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                       U.S. DISTRICT COURT, DISTRICT OF MARYLAND
                                       (GREENBELT)

Wesaye Tarwillie                                     *

                  Plaintiff                          *

         v.                                          *       Case No.: 8:18-cv-03450-TDC

Intercooler, Inc., et al                             *

            Defendants                               *
________________________________________

Intercooler, Inc., et al.                            *

                  Defendants/Cross-Plaintiffs        *

v.                                                   *

Postal Fleet Services, Inc. , et al.                 *

                  Defendants/Cross-Defendants        *


                       JOINT STIPULATION OF VOLUNTARY DISMISSAL
         The parties, by and through undersigned counsel, and pursuant to Federal Rule of Civil

Procedure 41, hereby jointly stipulate and agree to the dismissal of all claims and cross-claims in

this matter with prejudice.

 __/s/ Deborah L. Potter (with permission)      _____/s/Matthew T. Angotti ____________
 Deborah L. Potter                              Matthew T. Angotti, (# 5949)
 16701 Melford Blvd., Ste. 421                  Slava R. Kuperstein, (# 20633)
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     /s/ Tamara Goorevitz (with permission)     Ph.: (410) 752-1630/Fx: (410) 752-0085
 Tamara Goorevitz (#25700)                      kuperstein@acklaw.com
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 Franklin & Prokopic                            Postal Fleet Services, Inc., Ryder Truck Rental,
 2 N Charles Street, Ste. 600                   Inc., and Michael Tizzano
 Baltimore, MD 21201
 Attorneys for Defendants/Cross-Plaintiffs
 Intercooler, Inc. and Ellis Blount



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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY this 8th day of September, 2019, I caused a copy of the foregoing
to be electronically filed and served upon and/or mailed to:

         Deborah L. Potter, Esquire
         16701 Melford Blvd., Ste. 421
         Bowie, MD 20715
         Attorney for Plaintiff

         Tamara Goorevitz, Esquire
         Franklin & Prokopic
         2 N Charles Street, Ste. 600
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         Intercooler, Inc. and Ellis Blount



                                                    _____/s/ Slava Kuperstein ______________
                                                    Slava R. Kuperstein, (Bar #20633)




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